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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                   8:05CR288
                                          )
             v.                           )
                                          )
DWAYNE YOUMANS,                           )                       ORDER
                                          )
                    Defendant.            )
                                          )


      This matter is before the court on the defendant, Dwayne Youmans’ (“Youmans”),

motion for modification of sentence pursuant to 18 U.S.C. § 3582 (C)(2), Filing No. 116.

On December 7, 2005, Youmans plead guilty to one count of distribution of more than five

grams of a mixture or substance containing a detectable amount of cocaine base, in

violation of 21 U.S.C. § 841(a)(1). On March 10, 2006, Youmans was sentenced to a term

of imprisonment of 60 months. Under 21 U.S.C. § 841(b)(1)(B)(iii), the defendant is

subject to a five-year minimum sentence and, therefore, his sentence of 60 months is the

lowest possible sentence under the requirements of the statute. The recent changes to

the sentencing guidelines do not permit the court to enter a sentence lower than the

statutory requirements, and thus, the defendant’s motion for sentence reduction is denied.

      IT IS ORDERED that Youmans’ motion for modification of sentence pursuant to 18

U.S.C. § 3582 (C)(2) (Filing No. 116) is denied.

      DATED this 22nd day of May, 2008.

                                         BY THE COURT:



                                         s/ Joseph F. Bataillon
                                         Chief District Judge
